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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                            DISTRICT OF MARYLAND

 UNITED STATES OF AMERICA

       v.
                                                       Criminal Action No. TDC-18-157
 LEE ELBAZ,
   a/k/a “Lena Green,”

              Defendant


                   THE GOVERNMENT’S RESPONSE TO
         THE MOTION TO WITHDRAW AS COUNSEL, THE MOTION TO
      CONTINUE THE TRIAL, AND THE MOTION TO SUBSTITUTE COUNSEL

       The Government respectfully submits this response to three pending motions: (1) the

motion of the law firm of Quinn, Emanuel, Urquhart & Sullivan LLP (“Quinn Emanuel”) to

withdraw as counsel for the Defendant (Dkt. No. 91); (2) the Defendant’s motion for a continuance

of the trial date, currently set to begin on January 7, 2019 (Dkt. No. 98); and (3) the motion to

allow Robbins, Russell, Englert, Orseck, Untereiner & Sauber LLP (“Robbins, Russell”) to

substitute as counsel for Quinn Emanuel (Dkt. No. 115).

       As the Court is aware, the Government has been provided limited visibility into the basis

for the withdrawal and continuance motions, the substantive portions of which have been filed

under seal and ex parte. During a discussion with Quinn Emanuel last week, the Government was

informed that the principal basis for the motion to withdraw was that the individual(s) who had

apparently agreed to fund the Defendant’s defense have not been making payment for multiple

months or otherwise acting in accordance with Quinn Emanuel’s expectations regarding the

payment of their fees in this matter. During a subsequent hearing with the Court, Quinn Emanuel

stated that there were related reasons that it was unprepared to disclose to the Government.
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        Under the circumstances, the Government respectfully defers to the Court regarding the

appropriate disposition of the motion to withdraw. Given that the motion was filed less than one

month before a trial date that has been set for seven months, it is not clear that non-payment of

fees, standing alone, would be a sufficient basis for granting the motion to withdraw. The

Government recognizes, however, that the Court is better positioned to assess the merits of the

motion given its access to more fulsome information.

        Assuming that the Court grants the motion to withdraw, the Government does not object

to a continuance or to the motion to substitute counsel. The Government would respectfully

request a status conference at the Court’s earliest convenience—whether by telephone or in-

person—in order to discuss a new trial date. Based on consultations with proposed substitute

defense counsel, the Government understands that the defense may be available tomorrow

(December 20) or the following morning (December 21), and that they will be seeking a June 2019

trial date.

        Finally, the Government respectfully requests that Quinn Emanuel publicly file

appropriately redacted versions of its pleadings over the course of the last week, including

disclosing the basis for the relief sought in the motions—if not supporting facts that may constitute

privileged communications. See, e.g., United States v. Moussaoui, 65 F. App’x 881, 885 (4th Cir.

2003) (“The right of [public] access to judicial documents exists at common law and under the

First Amendment.”).

                                                      Respectfully submitted,

                                                      Sandra Moser
                                                      Acting Chief, Fraud Section
                                                      Criminal Division
                                                      U.S. Department of Justice




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                            By:                /s/
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                                  Trial Attorney

                                  Tracee Plowell
                                  Assistant Chief

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                                CERTIFICATE OF SERVICE

        I hereby certify that on December 19, 2018, I electronically filed the foregoing with the

Clerk of the Court by using the CM/ECF system, which will notify counsel for the Defendant of

the filing.



                                                                 /s/
                                                    Ankush Khardori
                                                    Trial Attorney
                                                    Fraud Section, Criminal Division
                                                    United States Department of Justice
